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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Newport News Division)

  LARRY D. REESE,                              )
                                               )
         Plaintiff,                            )
                                               )
  v.                                           )              Civil Action No.: 4:14cv156
                                               )
  J.C. PENNEY COMPANY, INC., et al.,           )
                                               )
         Defendants.                           )

                      DEFENDANT WINTER CONSTRUCTION COMPANY’S
                       ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

         COMES NOW Defendant Winter Construction Company (“Defendant”), by and through

  counsel, Bonner Kiernan Trebach & Crociata LLP, and in response to the allegations contained

  in Plaintiff’s Amended Complaint, Defendant states the following:

         1.      Defendant does not have sufficient information or knowledge with which to

  respond to the allegations contained in paragraphs 1, 2 and 4 of Plaintiff’s Amended Complaint

  and, therefore, denies same and demands strict proof thereof.

         2.      The allegations contained in paragraphs 5, 6, 7 and 8 of Plaintiff’s Amended

  Complaint contain legal conclusions and/or opinions, for which no responses are deemed to be

  required. However, to the extent that responses are required by the court, Defendant does not

  have sufficient information or knowledge with which to respond thereto and, therefore, denies

  same and demands strict proof thereof.

         3.      Defendant denies the allegations contained in paragraphs 3, 9, 10, 11, 12, 13, 14,

  15, 16, 18, 19, 20, 21, 22, 23 and 24 of Plaintiff’s Amended Complaint and demands strict proof

  thereof.
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         4.      The allegations contained in paragraph 17 of Plaintiff’s Amended Complaint

  contain legal conclusions and/or opinions, for which no responses are deemed to be required.

  However, to the extent that responses are required by the court, Defendant denies same, as

  phrased, and demands strict proof thereof.

         5.      Defendant denies that it is indebted to Plaintiff in the amount of $74,000.00 or in

  any amount.

         6.      Any allegation that is not specifically admitted, is hereby denied.

                            DEFENSES AND AFFIRMATIVE DEFENSE

         7.      Defendant was not negligent.

         8.      Defendant was not in breach of any such duty to Plaintiff.

         9.      Plaintiff’s claims are barred by his own contributory negligence and/or

  assumption of the risk.

         10.     Plaintiff failed to take due and appropriate care in the mitigation of his alleged

  injuries and damages.

         11.     Plaintiff’s alleged damages were proximately caused by breaches, act(s) of

  commission or omission of others and/or over which Defendant exercised no control or right to

  control, and/or which act(s) intervened between and/or superseded Defendant’s alleged breaches

  and/or acts and Plaintiff’s alleged injuries and damages, thereby barring Plaintiff from any

  recovery from Defendant.

         12.     Some or all of Plaintiff’s claimed damages were attributable to causes other than

  the incident complained of and must therefore be apportioned to such other causes accordingly.

         13.     Plaintiff’s alleged injuries and damages are not casually related to the events

  alleged in the Amended Complaint.




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         14.     Defendant was neither on notice of any such alleged dangerous and/or hazardous

  condition nor did Defendant have any opportunity and/or sufficient time to resolve, correct

  and/or remove any such alleged dangerous and/or hazardous condition.

         15.     Defendant further pleads the statute of limitations and/or worker’s comp bar to the

  extent such defenses are applicable.

         16.     To the extent that Plaintiff has filed for bankruptcy, he may not be the proper

  Plaintiff and/or have standing in this action.

         17.     Any allegation that is not specifically admitted, is hereby denied.

         18.     Defendant reserves the right to assert other defenses as discovery (or at trial) in

  this case disclose a basis therefore.

         WHEREFORE, Defendant Winter Construction Company, by counsel, prays that this

  Honorable Court dismiss the Amended Complaint filed by the Plaintiff and enter judgment in its

  favor, allowing all costs expended on its behalf.

                                 Respectfully Submitted,

                                 BONNER KIERNAN TREBACH & CROCIATA, LLP



                                 _____/s/ Craig L. Sarner____________________________
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                                 Counsel for Defendant Winter Construction Company




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of April, 2015, a copy of the foregoing was served

  via ECF and/or first class mail, postage prepaid, on:

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